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            Exhibit 
    Page         -.1 .,         of         l                    Pages
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                                                                                                                                                                                                                                                                                                  S.S., 0.L. NO.• ETC_          REF.

                                                                                                                                                                                                                                                                             REDACTED




     SEC. A"    A-Ann.ta;-d   B-B1.ail"'r1s, Fiim. AQl-ncv     C-Complain..nt    BR-8,n!IC'l"lidn   M-M,ning, Rj,U1swav         P-Par-ent, GU,il£di..n     S-S1.npe,ct   V-Victim   W-W1tneu   0-0thff (N;n.)




     SEC. C:    S-Sobff    D-S-n Drinking       l-lntm,;H"..11ad/Undw Influence-    0-0tftfr mlHl;libt in N,r,)

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          CONTINUATION                                                  NARRATIVE:
           SHEET ONLY                              □



     in the bedl"ooa.                                 'f'his s                  • with Officer Perffis':>went'Iihto 'the bacli'Seciroai{-'vtt.boiit~ .. st-



     I went back to the living roOll and Ill was on the
     #1 Douglas, said that he was their step.father. l l tuther said that he and his wite had left the houe
     and had just a:rrived home.                                                         He said that they thought sanethi                                                                               was vro              when the                fO'OJld the
     b9 had 9ntered the houae this way and fOUDd the kids 1n th9 back bedroom.                                                                                                                                                    I asked 1/J. the victim's
     19)Te~ a.nd (h was l.4)'1"&.                                                  After calling the station tor the detectives                                                                                             lab
           CAN OFFENDER            ~av WHOM                                        REPORTING OFFICER IPRINT, TYPE!                                                            A.E?ORTING OFflCEft IP~INT. TYPE!

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           BE IDENTIFIED
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    c.,aAA, COPIES TO                                                              SIGNATURE                                                                               SIGNATURE




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    Page              ·~                  .1:23-cv-01184-CRL-JEH
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     ATTACH. PROPERT·Y TAG HERE         I
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                                                                              # 318-11 Filed: 04/22/24 Page 3 of 3
                                                                                                     .. Jr                                - - □ LEAOS/NCIC Entry
                                                                                                                                                LEADS/NCIC      Inquiry
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                                                                     ,....,.,.~,., 11 r                  rk,a.. stJhtrurer:- and,he .said:\ t.bat if _sam.eone was 1n the ho~e~~that~~~~t sµ.ppose -y:>,,beri tbat:r                                                                                                                                                                                                                                                    r
                                                                                                             I
                                                                                                             I the do2 would bite them. therefore who ever bad been in the house must have known the
                                                                                                             I
                                                                                                             I kids.                       Officer Se1::md.dt arrived and was told to secure the front door and take names of
                                                                                                             I
                                                                                                             I     Officer's who entered.                                                                          Officer Perkin's was instructed to go to the vehicle With
                                                                                                             I
                                                                                                             I     #1 Donolas and try and calm the mother or the vict:lm 1 s and get necessary into:rmation.
                                                                                                             I
                                                                                                             I 11 Dou2las also said that he had been on the phone t.o Park•s Mortuary and sanething to

                                                                                                                          the effect that he worked there and they were to pick up the victim•s ••11 Douglas seamed
                       ~   r,•'       ;"":r;   •·1:•-r~~ "'·"' '"I ;A•tr N~),i't                    f\       "n ,. sli~htly U~e:t;,1 but. !J&B. an9y~_re,-l ,eJ:11._9J,i~aJ..1 ~!,",_;~Cf.~~•?.]' rff

              "'".,.. ,.:·.o.-,• --~-f.j, -=wf:~1        Mr    f ~'.• ·- 1 ~,r [', 1-w,~.-:-.~.Lt.""~tensoti:arrivedtaA(i:·.l!leClll"!ld::-trujt}:o~t-~14.!i.~!!tJh1a~~t!,gna~ ~!'~c~;-~.•~ ) r •. ',;::4_1...,                                                                                                                                                                                                                            ....:!:~ii         ±..,f'. r:

        When·the ambulanceA.l)ersonnel;-a~v~. . shortly•~~rdmy ~ ~ , , J_:pad . . j:,~em. ch~c~ th~:V?-~,~?~!~·~'t:l!~~,,d!~~~ng~.~rt~•!;.
'       They ~_ch~c~,.. A'dl. repor~~ .tAA,:t b~~~-~t,~Js. ~~-.,b~7 ~ s . ~ fe?,~ ~~!!J.... p~~--"';: ---~,---- 1· 't_""' ,•.-.\.tt'                                                                                                                                                                                                                           .    j-,. .           ~; _; ~   ~                !Iii
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